                       THE UNITED STATES DISTRICT COURT 

                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA 


JOHN BARNA, 


                     Plaintiff,
        v.                                        3:12·CV·638
                                                  (JUDGE MARIANI)
BOARD OF SCHOOL DIRECTORS
OF THE PANTHER VALLEY
SCHOOL DISTRICT, et al.,

                      Defendants.

                                          ORDER

        AND NOW, THIS    It~        DAY OF NOVEMBER, 2015, upon consideration of the

Motion for Summary Judgment of Defendants (Doc. 49), the Report and Recommendation

of Magistrate Judge Martin C. Carlson (Doc. 66), the objections thereto by Plaintiff John

Barna (Doc. 67), the Motion for Summary Judgment of Plaintiff (Doc. 77), and all

accompanying briefs and the oral argument of the parties, IT IS HEREBY ORDERED

THAT:

   1. 	 The Report and Recommendation (Doc. 66) is ADOPTED as modified in this Court's

        Memorandum Opinion;

   2. 	 The Motion for Summary Judgment of the Board of School Directors of the Panther

        Valley School District alkla Panther Valley Board of Education, Anthony DeMarco,

        David Hiles, William Hunsicker, Jeffrey Markovich, Koreen Nalesnik, Anthony

        Pondish and Donna Trimmel (Doc. 49) is GRANTED;
3. 	 The Motion for Summary Judgment of Plaintiff, John Barna, (Doc. 77) is DENIED;

4. 	 Judgment is HEREBY ENTERED IN FAVOR OF Defendants Board of School

   Directors of the Panther Valley School District a/k/a Panther Valley Board of

   Education, Anthony DeMarco, David Hiles, William Hunsicker, Jeffrey Markovich,

   Koreen Nalesnik, Anthony Pondish and Donna Trimmel, and AGAINST Plaintiff John

   Barna; and

5. 	 The Clerk is directed to CLOSE this case.




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